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 Not for Publication

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 ANDREW L. SCHLAFLY, on behalf of
 himself individually and on behalf of all other
 members of Eagle Forum, a non-profit
                                                      Civil Action No. 17-2522 (ES) (SCM)
 membership corporation,

                 Plaintiff,                                        ORDER

         v.

 EAGLE FORUM, et al.,

                       Defendants.


 SALAS, DISTRICT JUDGE

         Before the Court are the motions to dismiss by Plaintiff Andrew Schlafly; Defendant

 Eagle Forum; and Defendants Edward Martin, Jr., John Schlafly, Estate of Phyllis Schlafly,

 Eagle Trust Fund, and Eagle Forum Education and Legal Defense Fund (“Eagle Trust

 Defendants”). (D.E. Nos. 205, 209, 210 & 229). The Court having considered the relevant

 submissions and having decided the matter without oral argument; and for the reasons stated in

 the Court’s accompanying Opinion;

         IT IS on this 14th day of June 2019,

         ORDERED that Defendant Eagle Forum’s motion to dismiss Plaintiff Andrew Schlafly’s

 Second Amended Complaint with Class Action (D.E. No. 205) is GRANTED and Plaintiff’s

 Second Amended Complaint with Class Action (D.E. No. 204) is DISMISSED with prejudice;

 and it is further

         ORDERED that Defendant Eagle Forum’s motion to dismiss Eagle Trust Defendants’

 Crossclaims (D.E. No. 229) is GRANTED and Eagle Trust Defendants’ Crossclaims (D.E. 207)

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 are DISMISSED with prejudice; and it is further

         ORDERED that Andrew Schlafly’s motion to dismiss Eagle Forum’s Counterclaims

 (D.E. No. 209) is GRANTED with respect to Eagle Forum seeking costs and attorneys’ fees on

 its Counterclaims (D.E. No. 206); and it is further

         ORDERED that Andrew Schlafly’s motion to dismiss Eagle Forum’s Counterclaims

 (D.E. No. 209) is DENIED with respect to Eagle Forum’s declaratory judgment on its

 Counterclaims (D.E. No. 206); and it is further

         ORDERED that Eagle Trust Defendants’ motion to dismiss Eagle Forum’s Crossclaims

 (D.E. No. 210) is DENIED; and it is further

         ORDERED that within 30 days from the date of this Order, Defendant Eagle Forum

 SHALL prepare an order to disburse the interpleaded funds pursuant to Local Civil Rule 67.1(b);

 and it is further

         ORDERED that the Clerk of Court TERMINATE Docket Entry Numbers 205, 209, 210,

 and 229.




                                                           s/Esther Salas
                                                           Esther Salas, U.S.D.J.




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